            Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 1 of 20




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8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
10

11   FEDERAL TRADE COMMISSION,

12                 Plaintiff,
                                                       Case No. 3:23-CV-01710-AMO
            v.
13                                                     PLAINTIFF FEDERAL TRADE
     INTERCONTINENTAL EXCHANGE, INC.                   COMMISSION’S REPLY IN SUPPORT
14                                                     OF MOTION FOR A PRELIMINARY
     and                                               INJUNCTION
15
     BLACK KNIGHT, INC.,                               REDACTED VERSION OF
16                                                     DOCUMENT SOUGHT TO BE
                   Defendants.                         SEALED
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     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
            Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 2 of 20


1

2                                                    TABLE OF CONTENTS
3

4    I.     INTRODUCTION .......................................................................................................... 1

5    II.    ARGUMENT .................................................................................................................. 2
            A.        Defendants Urge the Court to Adopt an Erroneous Legal Standard ................... 2
6
            B.        Defendants Concede a Likelihood of Success on the Merits in LOS
7                     Markets ............................................................................................................... 3
8           C.        Defendants Bear the Burden to Show the Divestiture Restores
                      Competition......................................................................................................... 3
9
            D.        The Divestiture Is a Poor Remedy that Fails to Restore Competition ................ 4
10
                 1. Defendants Overstate Constellation’s Experience .............................................. 4
11
                 2. The Divestiture Will Create                                     Dependency upon ICE ....................... 5
12               3. Defendants Ignore Disadvantages of Split Ownership of Black Knight’s
                    Services ............................................................................................................... 6
13
                 4. Constellation’s                            Raises Concerns About Empower’s Future ............. 7
14          E.        The Market for PPEs for Encompass Users Is Not a Single-Brand Market ....... 7
15          F.        Defendants Ignore Evidence of EPPS’ and Optimal Blue’s
                      Interchangeability ............................................................................................... 8
16
            G.        Defendants Overstate EPPS and Optimal Blue Price Differences...................... 9
17
            H.        Defendants Fail to Overcome a Legal Presumption of Harm ........................... 10
18
            I.        Defendants Cannot Distance Themselves from ICE’s Plans to
19                                                                   ....................................... 11

20          J.        Defendants Ignore Evidence Reflecting ICE’s Increased Ability and
                      Incentive to Disadvantage PPE Competitors Post-Acquisition ........................ 12
21
            K.        Defendants’ Constitutional Arguments Are Irrelevant—And Have No
22                    Merit .................................................................................................................. 13

23   III.   CONCLUSION ............................................................................................................. 15

24

25

26

27

28


     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                                                               i
                Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 3 of 20


1                                                 TABLE OF AUTHORITIES

2
     Cases
3
     Ash Grove Cement Co. v. FTC, 577 F.2d 1368 (9th Cir. 1978) .................................................. 14
4
     Brown Shoe Co. v. United States, 370 U.S. 294 (1962) .......................................................... 8, 10
5
     CFPB v. CashCall, Inc., 35 F.4th 734 (9th Cir. 2022) ................................................................ 15
6
     Collins v. Yellen, 141 S. Ct. 1761 (2021)..................................................................................... 15
7
     Decker Coal Co. v. Pehringer, 8 F.4th 1123 (9th Cir. 2021) ...................................................... 15
8
     Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451 (1992) ......................................... 7
9
     Epic Games, Inc. v. Apple, Inc., 67 F.4th 946 (9th Cir. 2023)................................................... 7, 8
10   FTC v. Am. Nat’l Cellular, Inc., 810 F.2d 1511 (9th Cir. 1987) ................................................. 15
11   FTC v. AT&T Mobility LLC, 883 F.3d 848 (9th Cir. 2018)......................................................... 14
12   FTC v. Cement Inst., 333 U.S. 683 (1948) .................................................................................. 14
13   FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD, 2023 WL 2346238
14      (N.D. Cal. Feb. 3, 2023) ................................................................................................. 2, 8, 9

15   FTC v. RAG-Stiftung, 436 F. Supp. 3d 278 (D.D.C. 2020) ....................................................... 4, 5

16   FTC v. Sysco Corp., 113 F. Supp. 3d 1 (D.D.C. 2015).................................................................. 5

17   FTC v. Warner Commc’ns, Inc., 742 F.2d 1156 (9th Cir. 1984) ................................................... 2

18   FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028 (D.C. Cir. 2008) ................................................. 8
     FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d 27 (D.D.C. 2018) ............................. 3, 8
19
     Humphrey’s Executor v. United States, 295 U.S. 602 (1935) ..................................................... 15
20
     In re Illumina, Inc., No. 9401, 2023 WL 2946882 (FTC Mar. 31, 2023) ........................... 3, 4, 12
21
     Kaufmann v. Kijakazi, 32 F.4th 843 (9th Cir. 2022).................................................................... 15
22
     Munaf v. Geren, 553 U.S. 674 (2008)............................................................................................ 2
23
     Ramirez v. Ghilotti Bros. Inc., 941 F. Supp. 2d 1197 (N.D. Cal. 2013) ........................................ 3
24
     Reilly v. Apple Inc., 578 F. Supp. 3d 1098 (N.D. Cal. 2022)......................................................... 8
25
     Streamcast Networks, Inc. v. Skype Techs., S.A., 547 F. Supp. 2d 1086 (C.D. Cal. 2007) ........... 7
26
     TransUnion, LLC v. Ramirez, 141 S. Ct. 2190 (2021) ................................................................ 15
27
     United States v. Aetna Inc., 240 F. Supp. 3d 1 (D.D.C. 2017) .............................................. 4, 5, 7
28


     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                                                     ii
                Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 4 of 20


     United States v. AT&T, Inc., 310 F. Supp. 3d 161 (D.D.C. 2018), aff’d, 916 F.3d 1029
1        (D.C. Cir. 2019) .................................................................................................................... 12
2    United States v. Baker Hughes, Inc., 908 F.2d 981 (D.C. Cir. 1990) ............................................ 2
3    United States v. Cont’l Can Co., 378 U.S. 441 (1964) .................................................................. 8
4    United States v. U.S. Sugar Corp., No. 21-1644, 2022 WL 4544025
5        (D. Del. Sept. 28, 2022) .......................................................................................................... 2

6    United States v. UnitedHealth Grp. Inc., No. 1:22-cv-0481, 2022 WL 4365867
         (D.D.C. Sept. 21, 2022) ...................................................................................................... 4, 6
7
     William Jefferson & Co. v. Bd. of Assessment & Appeals No. 3, 695 F.3d 960
8        (9th Cir. 2012) ...................................................................................................................... 14

9    Withrow v. Larkin, 421 U.S. 35 (1975)........................................................................................ 14

10   Statutes
     15 U.S.C. § 18a .............................................................................................................................. 3
11
     16 C.F.R. § 4.7(b) ........................................................................................................................ 14
12
     5 U.S.C. § 554(d)(2) .................................................................................................................... 14
13

14

15

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     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                                                              iii
             Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 5 of 20


1    I.     INTRODUCTION

2           In its initial Brief (ECF 109, “Br.”), the FTC laid out why it is likely to succeed in

3    showing in an administrative proceeding that the merger of Intercontinental Exchange, Inc.

4    (“ICE”) and Black Knight, Inc. (“Black Knight”)—the two leading LOS and PPE providers in

5    the United States—may substantially lessen competition in violation of the Clayton Act. Perhaps

6    sensing that the law and facts are not on their side, Defendants have responded with a litany of

7    straw men. In their Opposition (ECF 145, “Opp.”), Defendants propose that the FTC must satisfy

8    the elements of a seldom-utilized and wholly irrelevant “single-brand market” doctrine (Opp. 16)

9    and the also-inapplicable “actual potential competition” doctrine (Opp. 24). Defendants propose

10   that the Court ignore that this action is one for a preliminary injunction under § 13(b) of the FTC

11   Act, and invite legal error by seeking to import the evidentiary burdens of the ultimate merits

12   proceeding. E.g., Opp. 8-9. Defendants seek to cast the FTC’s allegations of harm to markets for

13   PPEs for Encompass users and all PPEs as a “fallback argument,” perhaps in the hope that the

14   Court will overlook competitive concerns in those markets as Defendants did when proposing a

15   slapdash Divestiture relating only to their LOSs. 1 E.g., Opp. 16.

16          Defendants also ask the Court to improperly shift the burden of proving the effects of the

17   Divestiture to the FTC, but in doing so wholly ignore, and thereby concede, the FTC’s

18   allegations of competitive harm in LOS markets arising from ICE’s Acquisition of Black Knight.

19   Having conceded this harm, Defendants cannot establish that their last-minute Divestiture is

20   anything more than window dressing on an obviously anticompetitive deal.

21          Finally, Defendants introduce their own “fallback argument,” claiming the

22   congressionally created administrative process for litigating merger legality before an ALJ

23   deprives them of constitutional rights. These arguments run contrary to precedent, and are not a

24   basis for denying a preliminary injunction here.

25          For these reasons, and the reasons set forth in the FTC’s initial Brief, the Court should

26   enjoin Defendants from merging until the underlying administrative proceeding has concluded.

27   1
      For purposes of this Reply, the FTC refers to ICE’s acquisition of Black Knight as originally
28   proposed as the “Acquisition,” and the subsequent arrangement to sell Empower to Constellation
     Web Solutions Inc. (“Constellation”) as the “Divestiture.”

     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                      1
             Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 6 of 20


1    II.    ARGUMENT

2           A.      Defendants Urge the Court to Adopt an Erroneous Legal Standard

3           The FTC satisfies its burden of showing a likelihood of success if it raises questions on

4    the merits adequate to make them “fair ground for thorough investigation, study, deliberation and

5    determination by the FTC in the first instance and ultimately by the Court of Appeals.” Br. 5

6    (quoting FTC v. Warner Commc’ns, Inc., 742 F.2d 1156, 1162 (9th Cir. 1984)). 2 Because the

7    issue of whether the FTC has raised sufficient questions about the Acquisition is a “narrow one,”

8    the Court need not “resolve the conflicts in the evidence, compare concentration ratios and

9    effects on competition in other cases, or undertake an extensive analysis of the antitrust issues.”

10   Warner Commc’ns, 742 F.2d at 1164. Defendants seek to avoid application of this standard by

11   arguing that the Court should instead demand the heightened showings discussed in United

12   States v. Baker Hughes, Inc., 908 F.2d 981 (D.C. Cir. 1990), United States v. Anthem, Inc., 855

13   F.3d 345 (D.C. Cir. 2017), and United States v. U.S. Sugar Corp., No. 21-1644, 2022 WL

14   4544025 (D. Del. Sept. 28, 2022). Opp. 8-9. Each of those cases was an action to obtain a

15   permanent injunction—in other words, the ultimate merits proceeding. Here, the FTC seeks only

16   a preliminary injunction under § 13(b) of the FTC Act; the Court’s task is to assess the FTC’s

17   likelihood of success in the merits proceeding under the standard noted in Warner Commc’ns,

18   742 F.2d at 1162. Defendants’ assertions regarding the FTC’s burden drawn from Baker Hughes,

19   Anthem, and U.S. Sugar Corp. are wrong as a matter of law in the preliminary injunction context.

20          Defendants also suggest that the Court should apply a heightened standard because if

21   they are preliminarily enjoined from merging, they may not see a final resolution of the matter

22   before their self-imposed “November 4 termination date.” Opp. 2. Defendants’ consideration of

23   how long they will wait to merge is a private concern outweighed by public interests in effective

24
     2
       This standard remains the law. E.g., FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD,
25   2023 WL 2346238, at *8 (N.D. Cal. Feb. 3, 2023) (“Meta”). In arguing that serious questions
     about the Acquisition’s legality do not justify an injunction, Defendants mischaracterize the
26   Supreme Court’s holding in Munaf v. Geren, 553 U.S. 674 (2008). Opp. 8. There, the Court, in
27   holding that questions about the lower court’s jurisdiction over a habeas petition were not
     adequate to justify an injunction, explicitly distinguished those jurisdictional questions from a
28   “likelihood of success on the merits,” such as the question in the case at bar. Id. at 690-91. In
     other words, Munaf suggests precisely the opposite of what Defendants have cited it for.

     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                     2
             Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 7 of 20


1    enforcement of the antitrust laws. E.g., FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d

2    27, 73-74 (D.D.C. 2018). The Court should decline to apply a heightened standard on this basis.

3           B.      Defendants Concede a Likelihood of Success on the Merits in LOS Markets

4           In their Opposition, Defendants argue that the FTC cannot show that their sale of

5    Empower to Constellation will lessen LOS competition. In doing so, Defendants wholly ignore

6    and effectively concede the FTC’s allegations that: (1) commercial LOS and all-LOS markets are

7    relevant product markets in which to evaluate the Acquisition; and (2) the FTC is likely to

8    succeed on the merits in showing that the Acquisition without the Divestiture may substantially

9    lessen competition or tend to create a monopoly in those markets in violation of § 7 of the

10   Clayton Act. Br. 7-12; e.g., Ramirez v. Ghilotti Bros. Inc., 941 F. Supp. 2d 1197, 1210 & n.7

11   (N.D. Cal. 2013) (issue not addressed in opposition is waived).

12          C.      Defendants Bear the Burden to Show the Divestiture Restores Competition

13          Although Defendants sought antitrust approval under the Hart-Scott-Rodino Antitrust

14   Improvements Act (“HSR Act”) for ICE’s Acquisition of all of Black Knight’s assets, they now

15   propose the FTC should have to prove the effects of their deal to offload Black Knight’s

16   Empower to Constellation. This is not the law. Defendants bear the burden to show the

17   Divestiture will restore lost competition.

18          The HSR Act requires merging parties to file notification of transactions exceeding

19   certain thresholds. 15 U.S.C. § 18a. In enacting the HSR Act, one goal of Congress was to give

20   the FTC advance notice of an impending merger, to provide a “meaningful chance to carry its

21   burden of proof, and win a preliminary injunction against a merger that appears to violate

22   [Clayton Act] section 7.” H.R. Rep. No. 94-1373, at 8 (1976).

23          One tactic used by merging parties to push an anticompetitive transaction through

24   regulatory review is to “litigate the fix.” By proposing an eleventh-hour modification to a

25   merger, defendants may hope to avoid litigating the transaction as initially filed. Rewarding this

26   tactic would frustrate the purpose of the HSR Act to provide the FTC with the opportunity to

27   thoroughly investigate potential transactions and create perverse incentives, as recognized by the

28   Commission in In re Illumina, Inc., No. 9401, 2023 WL 2946882, at *53 (FTC Mar. 31, 2023):


     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                    3
Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 8 of 20
Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 9 of 20
Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 10 of 20
Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 11 of 20
Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 12 of 20
Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 13 of 20
            Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 14 of 20


1    not compete within the same relevant product market. Opp. 19. Far from it. Again, as Brown

2    Shoe makes clear, though price differences may inform market definition, the crux of the inquiry

3    is whether and where competition exists. 370 U.S. at 326.

4

5                   . Br. 16-17 & n.7. Further, Defendants build their price-based argument on a flawed

6    analysis of their retained expert, Dr. Dick. Opp. 19-20. In seeking to draw conclusions

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8                , Dr. Dick fails to account

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10

11                                       . PX8001 (Sacher (FTC) Rebuttal) ¶¶ 107-117. Dr. Dick also

12   overstates price differences between EPPS and Optimal Blue

13                                                                                             . Id. ¶¶

14   118-122, 141-155. For these and other reasons, Dr. Dick’s analysis of EPPS and Optimal Blue

15   price differences is inadequate to support any conclusion regarding the state of competition.

16          H.        Defendants Fail to Overcome a Legal Presumption of Harm

17          Defendants argue that the Court should disregard well-supported presumptions of

18   competitive harm resulting from high PPE market shares and a significant increase in

19   concentration caused by the Acquisition. Compare Opp. 20-22 with Br. 14-15. Defendants write:

20   “[A]nalyzing a transaction requires looking into factors such as the characteristics of the

21   customers, trends towards competition or concentration in the industry, the existence of small but

22   significant competitors, or the barriers to entry.” Opp. 21 (quotation marks omitted). These

23   factors reinforce, rather than rebut, the applicable presumptions of competitive harm.

24          For example, Defendants themselves have led a substantial trend toward concentration of

25   PPEs: Since 2019, Black Knight has acquired Compass and Optimal Blue to supplement

26   Empower’s native PPE, and now seeks to combine with its most significant PPE competitor. Br.

27   3, 15-16. In seeking to minimize the competitive harms of the Acquisition, Defendants overstate

28   the competition they face from third-party PPE providers. Opp. 21-22. No PPE besides EPPS


     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                     10
            Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 15 of 20


1    and those owned by Black Knight has captured more than                         of either alleged

2    PPE market. PX1640 (ICE) at 8. As discussed in II.F supra, Optimal Blue and EPPS encounter

3    each other in head-to-head competition

4                  any new PPE would face high barriers to entry—

5                                                       . Br. 29. Post-Acquisition, ICE also will have

6    an increased ability and incentive to make life more difficult for any PPE hopeful. Br. 19-22. The

7    factors cited by Defendants confirm that the Acquisition threatens real competitive harm, and

8    presumptions based on a significant increase in concentration apply with full force.

9            I.     Defendants Cannot Distance Themselves from ICE’s Plans to

10

11           Defendants seek to dismiss evidence that ICE

12                                                      as mere “hypothesi[s]” by the FTC. Opp. 23.

13   To the contrary, evidence of this approach comes not from the FTC’s imagination, but from

14                                                     . In connection with the Acquisition, ICE

15   prepared an

16

17                                             . PX1100 (ICE) at 4; PX6046 (Tyrrell (ICE) Dep.) at

18   141:20-142:13 (discussing PX1100). In its                                                  , ICE

19   stated that                                                                                   .

20   PX1102 (ICE) at 90-91 (citing PX1100). ICE now seeks to distance itself from its

21   claiming

22           . Opp. 23 (emphasis added). This is a startling admission from ICE that

23

24

25           Further, examination of ICE’s                   contradicts its current position

26

27                                                                      . PX6046 (Tyrrell (ICE) Dep.)

28   at 148:17-149:10 (                      ), 153:17-154:12 (                    ), 154:13-156:19


     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                    11
            Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 16 of 20


1    (                            ); PX1100 (ICE) at 3. ICE’s

2

3

4                    . PX1100 (ICE) at 3 (            ). The Court should not credit ICE’s post hoc

5    attempts to distance itself from its                                                 .

6           J.      Defendants Ignore Evidence Reflecting ICE’s Increased Ability and

7                   Incentive to Disadvantage PPE Competitors Post-Acquisition

8           In contesting the vertical harms arising from the Acquisition, Defendants again conflate

9    evidentiary burdens in this preliminary injunction suit with burdens in the ultimate merits

10   proceeding by relying on permanent injunction case law. Opp. 25 (quoting United States v.

11   AT&T, Inc., 310 F. Supp. 3d 161, 192 (D.D.C. 2018), aff’d, 916 F.3d 1029 (D.C. Cir. 2019)).

12   Defendants also question the viability of vertical merger challenges, writing “[t]he government

13   has not succeeded on the merits of a vertical merger challenge in decades.” Opp. 25. They are

14   wrong. Complaint counsel prevailed on the merits of a vertical merger challenge as recently as

15   March of this year. In re Illumina, 2023 WL 2946882. Precedent undergirding challenges to

16   vertical mergers is settled and not in dispute. E.g., Brown Shoe Co., 370 U.S. at 317.

17          Defendants seek to dismiss evidence that the Acquisition will increase ICE’s incentive to

18   limit Encompass access for competing PPE providers as mere speculation. Opp. 25. Far from

19   speculative, the FTC’s allegations are supported by sound economic analysis and evidence from

20   Defendants themselves. By acquiring the industry-leading Optimal Blue, ICE can recapture a

21   greater portion of the business and revenues lost by third-party PPEs integrated with Encompass,

22   and thus will have a greater economic incentive to disadvantage those PPEs. Br. 22; PX8000

23   (Sacher (FTC) Rep.) ¶¶ 494-505. Again, ICE’s

24

25                                                   , which is inconceivable without ICE taking steps

26                                                                . Br. 21-22.

27          Defendants’ acknowledgment that after Black Knight’s acquisition of Optimal Blue,

28   “ICE planned to integrate additional PPEs on Encompass instead of prioritizing integration


     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                    12
Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 17 of 20
            Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 18 of 20


1    show a due process violation, a party must overcome “a presumption of honesty and integrity on

2    the part of the decisionmaker” and show that “undue prejudice did occur.” Ash Grove Cement

3    Co. v. FTC, 577 F.2d 1368, 1376 (9th Cir. 1978) (emphasis added). Defendants do not attempt

4    such a showing, nor could they. The Supreme Court has rejected the idea “that the combination

5    of investigative and adjudicative functions necessarily creates an unconstitutional risk of bias in

6    administrative adjudication.” Withrow v. Larkin, 421 U.S. 35, 47 (1975). The Ninth Circuit has

7    held that an agency may perform both prosecutorial and adjudicative functions when, as here, it

8    maintains “an ethical wall that prevents attorneys representing the [prosecutorial staff] from

9    supervising attorneys who advise the [adjudicator] or sharing case information with them.”

10   William Jefferson & Co. v. Bd. of Assessment & Appeals No. 3, 695 F.3d 960, 965-66 (9th Cir.

11   2012). Because FTC staff responsible for prosecuting the case are forbidden from ex parte

12   contact with the ALJ or the Commissioners once a complaint issues (5 U.S.C. § 554(d)(2); 16

13   C.F.R. § 4.7(b)), the administrative forum provides full due process.

14          Equal protection. Defendants’ claim that their equal protection rights are violated

15   because the FTC brought administrative proceedings when the DOJ could instead have filed suit

16   in federal court is meritless. Opp. 28-29. As Defendants concede, this distinction is subject to

17   “rational basis” review. Id. at 29. The Supreme Court has explained that Congress endowed the

18   FTC and DOJ with “cumulative remedies” that are not “confine[d] . . . within narrow, mutually

19   exclusive limits.” FTC v. Cement Inst., 333 U.S. 683, 694-95 (1948). The Ninth Circuit, sitting

20   en banc, has recognized that this concurrent authority “makes sense, as different federal agencies

21   bring to the table discrete forms of expertise and specific enforcement powers.” FTC v. AT&T

22   Mobility LLC, 883 F.3d 848, 862 (9th Cir. 2018) (en banc). Given their overlapping jurisdiction,

23   it was not irrational, much less unconstitutional, for the FTC and DOJ to allocate cases among

24   themselves to save resources, avoid duplicative proceedings, and develop industry-specific

25   expertise. For that reason—and many others—Defendants’ equal protection argument fails.

26          Nondelegation. Congress did not improperly delegate legislative powers by granting the

27   FTC authority to enforce the law through proceeding either in its administrative court or in

28   federal court. Opp. 29. Such decisions are core executive functions under Article II of the


     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                     14
            Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 19 of 20


1    Constitution, not a legislative power Congress itself should have performed—and are therefore

2    not subject to a nondelegation analysis. 9 See TransUnion, LLC v. Ramirez, 141 S. Ct. 2190, 2207

3    (2021) (“[T]he choice of how to prioritize and how aggressively to pursue legal actions against

4    defendants who violate the law falls within the discretion of the Executive Branch . . . .”).

5           Removal of Commissioners and ALJ. Defendants attack the for-cause removal

6    restrictions of the FTC Commissioners (Opp. 29-30), but the Supreme Court blessed those

7    restrictions almost 90 years ago in Humphrey’s Executor v. United States, 295 U.S. 602, 626-32

8    (1935), and the Ninth Circuit has rejected Defendants’ argument that Humphrey’s Executor is no

9    longer binding because the agency now brings enforcement cases in federal court, see FTC v.

10   Am. Nat’l Cellular, Inc., 810 F.2d 1511, 1514 (9th Cir. 1987). The removal restrictions on the

11   ALJ likewise are constitutional since he performs “quasi judicial” duties, see Humphrey’s

12   Executor, 295 U.S. at 629, and “there is a long history of adjudication by ALJs free from

13   political influence,” Decker Coal Co. v. Pehringer, 8 F.4th 1123, 1136 (9th Cir. 2021).

14          In any event, Defendants do not dispute that the ALJ and Commissioners were “properly

15   appointed,” which means “there is no reason to regard any actions taken by [those officials] . . .

16   as void.” Collins v. Yellen, 141 S. Ct. 1761, 1787 (2021). To prevail, Defendants must show how

17   the allegedly “unconstitutional removal provision actually harmed” them. CFPB v. CashCall,

18   Inc., 35 F.4th 734, 743 (9th Cir. 2022) (quoting Kaufmann v. Kijakazi, 32 F.4th 843, 849 (9th

19   Cir. 2022)). This requires showing that (1) the President expressed a desire to remove the

20   Commissioners or ALJ but could not do so, and (2) the President’s inability to remove those

21   officials resulted in the challenged actions. See id. Defendants make no such allegations here, so

22   their arguments fail.

23   III.   CONCLUSION

24          For the foregoing reasons and those stated in its opening Brief, the FTC respectfully

25   requests that the Court grant the FTC’s Motion for a Preliminary Injunction.

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27     The Fifth Circuit’s decision in Jarkesy v. SEC, 34 F.4th 446 (5th Cir. 2022), is contrary to
     TransUnion and other Supreme Court cases, and the SEC has petitioned for Supreme Court
28   review. In any event, this case differs from Jarkesy, which turned on the fact that the defendant
     had a jury trial right in federal court. Id. at 453-55, 465. Defendants have no such right here.

     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                                      15
           Case 3:23-cv-01710-AMO Document 160 Filed 06/23/23 Page 20 of 20


1          Dated: June 23, 2023                     Respectfully submitted,

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     PLAINTIFF’S REPLY IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO                                                           16
